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05-CV-00827-CMY BLERK Us. RIETRIGT GOURT
gy NESTERN DISTRICT OF WASHINGTON,

UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF WASITIINGTON

AT SEATTLE
ALEXANDER SERRA, M.D.
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Plaintiff, no. i ee us Wy Cob et y
ve VERIFIED COMPLAINT FOR SPECIFIC

PERFORMANCE
CENTER FOR DIAGNOSTIC IMAGING,
INC., a Minnesota corporation; CDI
MANAGEMENT CORP., a Minnesota
corporation; ONEX, INC., a Canadian
corporation; DON JACOBSEN, an individual;
TOM TOMLINSON, an individual; and
ROBERT BAUMGARTNER, an individual,

Defendants.

 

 

I, INTRODUCTION

l. This is an action for specific performance ofa single provision of a contract
between a physician and a non-physician medical practice management company and its
affiliates. A contract between plaintiff Alexander Serra, M.D. (Dr. Serra) and defendant Center
for Diagnostic Imaging, Inc. provides generally for disputes between them to be resolved by
binding arbitration. However, the contract expressly permits judicial actions for specific
performance of provisions of the contract. In October 2004, Dr. Serra alerted CID] to what he
believed were instances of fraudulent billing by CDI. In February 2005, Dr. Serra initiated an

arbitration between him and defendant CDI. CDI sought by way of counterclaim to remove Dr.

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VERIFIED COMPLAINT FOR SPECIFIC
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Serra from the practice the parties had crealed. However, on at 6 p.m. on Friday, April 29, 2005,
after changing the locks on Dr, Serra’s practice facility, CDI unilaterally ejected Dr. Serra from
his medical practice effective Sunday, May 1, 2005 at 9 p.m. This action blatantly violated the
provisions of the contract between the partics and is a clear attempt ta deprive Dr. Serra of his
livelihood during the pendency of the arbitration. Dr. Serra files this complaint to seck limited
injunctive relief specifically enforcing the removal provisions of the contract, so the arbitration
can proceed with the maintenance of the slatus quo that existed prior to defendant's illegal “self-
help” actions.

Il. THE PARTIES

2. Plaintiff Alexander Serra, M.ID. is an individual who resides in the County of
King in the State of Washington. Dr, Serra is a radiologist licensed in the State of Washington to
practice medicine.

3, Defendant Center for Diagnostic Imaging, Inc. is a Minnesota corporation with its
principal place of business in St. Louis Park, Minnesota. On information and belief, Defendant
CDI Management Corp. is a wholly owned subsidiary of CDI. Center for Diagnostic Imaging,
Inc. and CDI Management, Inc. are hereinafier collectively referred to as “CDI.” CDI is not in
ihe business of practicing medicine; instead, it manages physician practices.

4. On information and belief, CDI has been acquired by Defendant Onex, Inc.,
("Onex”), a Canadian corporation. Plaintiff is ignorant of the current corporate status of CDI,
which may be operated as either a subsidiary or division of Onex. On information and beliel,
Onex ts liable for the matters alleged herein as successor in interest to CDI.

5. By an Operating Agreement entered into by Dr, Serra and CDI on or about
September 30, 2001 (a truce and correct copy of which is attached hereto as Exhibit A), Dr. Serra
and CIT together formed CDI-Northwest, a limited liability company formed under the laws of

the State of Minnesota. The Operating Agreement was subsequently amended on June 1, 2003

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(“First Amendment”) and on September 26, 2003 (“Second Amendment”). Copies of the First
and Second Amendments are attached hercto as Exhibits B and C, respectively.

6. CDI-Northwest is an independent diagnostic testing facility that began providing
scrvices on approximately December 9, 2001 with mobile MRI, CDI-Northwest attained full
service capabilities on approximatcly March 10, 2002. It provides MRI, CT and injection
procedures. Dr. Serra is the Medical Direetor of CDI-Northwest and is an Approved Radiologist
under the terms of the Operating Agreement. CT) and/or its wholly owned subsidiary, CDI
Management Corp. is the Center Manager of CDI-Northwest under the terms of the Operating
Agreement. Dr. Serra owns a 49% interest in CDI-Northwest and CDI owns a 51% interest in
CDI-Northwest. CD]-Northwest is governed by a Board of Governors. There arc currently a
total of four Governors on the Board of Govemers, three Governors appointed by CDI and one
Governor appointed by Dr. Serra.

7. Defendant Don Jacobsen is an individual who resides in the State of Minnesota.
Mr. Jacobsen is a member of the Board of Governors of CDI-Northwest. Mr. Jacobsen was
appointed to the Board of Governors by COT,

8. Defendant Tom Tomlinson is an individual who resides in the State of Minnesota.
Mr. Tomlinson is the Chief Operating Officer of CDI and is a member of the Board of Governors
of CDT-Northwest. Mr, Tomlinson was appointed to the Board of Governors by CDI.

9, Defendant Bob Baumgartner is an individual who resides in the State of
Minnesota. Mr. Baumgartner is the Chief Executive Officer of CDI and a member of the Board
af Governors of CDI-Northwest. Mr. Baumgartner was appointed to the Board of Governors by

CDI.

[l. JURISDICTION AND VENUE
10. This Court has subject matter jurisdiction over the claims asserted herein pursuant
to 28 U.S.C. § 1332, as all plaintiffs and al! defendants are citizens of diffcrent states and the

amount in controversy, exclusive of interest and costs, exceeds $75,000,

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11. Venue is proper in this District as Dr. Serra resides in this District and the acts

and occurrences thal give rise to the causes of action sct forth herein occurred in the District.

IV. BACKGROUND

12. The Operating Agreement cf CDI-Northwest divides certain duties and
responsibilities between Dr, Serra and CD1, The Operating Agrecment provides that as an
Approved Radiologist, Dr. Serra, among other things, provides all of the radiological services for
all of the procedures at CDI-Northwest, provides intcrpretations of medical images, cooperates
with the Center Manager in establishing imaging protocols, collects data related to CDI-
Northwest and its services, and reviews the business and financial matters of CDI-Northwest.
See Ex. A, Operating Agrcement, Section 9.2, “Duties of Radiologist.” The Operating
Agreements provides that, as Medical Director, Dr. Serra is responsible for arranging medical
staffing of the CDI-Northwest Center, overseeing the conduct of the procedures performed at the
Center, overseeing the purchase and disbursement of pharmacological materials, consulting with
the Center Manager regarding the sclection, training and supervision of Center personnel, and
reviewing with the Center Manager the financial and operational status of the Center. Scc Ex. A,
Operating Agreement, § 9.6, “Duties of Medical Director.” The Operating Agreement provides
that CDI, as the Center Manaper, is responsible for equipment purchasing, leasing and
maintenance, licensing of the Center, marketing, billing to third party payors (/e.. the federal
government and private insurers), financing, policies and procedures for Center operations,
purchasing insurance, and providing accounting services and the like. Sec Ex. A, Operating
Agreement, Section 10.1, “Center Manager, Daties.” In addition, the Center Manager was
prantcd a power of attorney to conduct billing. fi, § 10.3.

13. Beginning in the Summer of 2004, Dr. Serra discovered information that
suggested that CDI was improperly billing such services to both federally funded and private
insurers. Ina letter dated Sepiember 20, 2004, Dr. Serra gave notice of breach to CDI pursuant

to §§ 8.3 and 17.1 of the Operaling Agreement. Briefly described, these breaches consist of the

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(ollowing, among others: (a) as Center Manager, CDI billed for therapeutic pain management
services that CD1-Northwest is not authorized under federal law to perform, or bill for, and did
so through the sham of falsely representing that the services were performed by a professional
services organization named Medical Scanning Associates, P.A. (“MSC”) when in fact the
services were performed by Dr. Serra, who was authorized to perform such procedures and had
no relationship with MSC at the time; (b) CDI conducted the unauthorized practice of medicine
by permitting a non-physician to read medical imaging, delivering medical services it is not
authorized to deliver, aliering Dr. Serra’s transcription of services he has performed, and
imposing a “Policy and Procedures Manual” that addresses, often incorrectly, the medical
procedures to be followed by medical personnel; (c) CDI violated patient confidentiality in
derogation of the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”); and
(d) CDI failed to adequately manage CDI-Northwest. Each of these breaches exposed Dr. Serra
to potential liability under state and federal law,

14. Because CDI failed to cure its breaches within 60 days, Dr. Serra filed an
Arbitration Demand on or about February 15, 2005, a true and correct copy of which is attached
hereto as Exhibit D. Among the relief sought by Dr. Scrra was an order relieving him of his non-
compete obligations pursuant ta § 8.3 of the Operating Agreement, which provides that CDI’s
failure to cure a material breach within 30 days notice of such breach voids the non-compete
provisions contained in § 8.2.1,

15. Within six days of Dr. Serra filing his arbitration demand and prior to answering,
CDI provided a “report” to the Board of Governors that purported lo be based upon “various
complaints” by unnamed persons and “other evidence.” This report “found” that Dr. Serra had
created a threatening work environment, had “threatened” CD1-Northwest personnel, had used
CDI-Northwest facilities lor his “personal benefit” to bill his professional services and other
items. The report proposed that Dr, Serra comply with a set of “conduct requirements” which

included, among other things, that “Dr. Serra is not to contact or give orders to any member of

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the administrative staff unless they relate to the matters of medical care and patient safety”, that
“Dr. Serra will cease to have any contact with patients or gather any information trom patients,
including billing information, that is unrclated to the provision of medical advice and services”;
and that Dr. Serra “will ... not interfere with the administration or operation of CDI-Northwest.”

16, The Board of Governors, controlled by CDI, adopted this report and conduct
requirements in a sct of resolutions on February 23, 2005. The three Governors who were senior
CDI employees “instructed” CDI to advise Dr. Serra that his conduct may violate the terms of
his agreement and “may violate state and federal laws relating to treatment of employccs” and
required Dr, Serra to abide by the “code of conduct” recommended by CDI.

17. CDT answered Dr. Serra’s demand for arbitration and served counterclaims on or
about March 1, 2005. Among the relief requested by CDI in its response was an order “declaring
that CD1 is entitled to terminate Dr. Serra as Medical Director and an Approved Radiologist for
CDI-NW.” A true and correct copy of such answer and counterclaims is attached hereto as
Exhibit E.

18. Dr. Serra timely appointed an arbitrator to hear the claims pursuant to § 17.12 of
the Operating Apreement, CDI appointed as arbitrator a partner in the law firm that represents
CDI on employee matters. Dr. Serra objected to this appointment and CDI has yet to appoint a
replacement arbitrator. As a consequence, neither the second nor the third arbitrator (who is to
be appointed by the two party-appointed arbitrators) have yet to be appointed, notwithstanding
that Dr. Serra’s demand was made over two and half months ago.

19. Since the time that the arbitration demand was Siled, Dr. Serra has continued to
encounter improper billing and other practices of CDI. These practices include the wholesale
false billing of epidurography services to both federal and private payers. Moreover, despite
representing that it ceased in October 2004 billing Medicare lor therapeutic pain management
services performed by Dr. Serra and which CDI was not authorized to either perform or bill for,

CDI continued to bill for these services through at least January 2005. Other issues have also

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arisen, In addition, CDI unilaterally changed the informed consent document, which is required
of every patient undergoing an image-guided invasive procedure, to, among other things,
eliminate critical written patient responses to questions pertaining to allergies and bleeding
tendencics. This change was discovered when a patient on Dr, Serra’s injection table, with a
five-inch needle positioned on a lumbar nerve root, requested that Dr. Serra cease his work
because the patient was allergic to the contrast medium. In addition, Dr. Serra and a technologist
discovered in a closet at CDI-Northwest the film archives from invasive procedures on 112
patients which had never found their appropriate place in the patients’ medical jackets.

20. Dr. Serra wrote CDI on or about April 25, 2005 ta inform them of a specific
billing impropricty and demand that it cease. This billing impropriety was the unbundling of
epiduragraphy from epidural steroid injections. The appropriate practice in performing and
billing for epidural steroid injections is to bill for a single procedure, one component of which is
epiduragraphy. Instead of billing in this method, CDI unbundles the epiduragraphy from the
epidural steroid injection and bills for both “procedures.” This unbundling results in overbillings
to both federally funded and private insurers. A true and correct copy of the letter is attached
hereto as Exhibit I’.

21. Four days after Dr. Serra sent his letter alerting CDI that he objected to the
continued inappropriate billing of epiduragraphies, CDI] recommended that Dr. Serra be removed
as an Approved Radiologist and as Medical Director of CD1-Northwest, This recommendation
came in the form of a memorandum which purported to document unspecified conduct of
Dr. Serra afler the Board’s resolution directing him to comply with a set of conduct
requirements, The report stated thal Dr. Serra had: (1) made disrespeciful and abusive
comments to unidentified employees of the Center who became fearful of Dr. Serra;

(2) Dr. Serra communicated to unidentified CDI employees regarding the pending arbitration;
(3) Dr. Serra criticized and failed to speak posilively aboul CDI and the CDI-Northwest Center;

(4) Dr. Serra markeied his medical practice; and (5) Dr. Serra failed to cooperate with CDI. The

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report concluded that “it is in the best interests of the Center to terminate |[Dr. Serra’s]
employment.”

22. In connection with its recommendation to remove Dr. Serra as an Approved
Radiologist, and after surreptitiously changing the locks on the CDl-Northwest facilities, CDI, at
approximately 6:00 p.m. on Friday, April 29, 2005, (1) with a chronic pain patient in the waiting
room waiting lo see Dr. Serra for procedures, immediately escorted Dr. Serra; (2} an MRI patient
on the table being scanned; (3) a pending need for an immediate report on a patient scheduled for

the next morning; and (4) over 30 undictated exams from that day, including a heart MRI,

FIRST CAUSE OF ACTION
FOR SPECIFIC PERFORMANCE OF CONTRACT

23. Dr. Serra hereby incorporates by reference paragraphs 1 through 22 above as
though fully set forth in this paragraph 23.

24, The Operating Agreement is a binding agrccment and is supported hy adequate
consideration.

25, Section 17.12 of the Operating Agreement provides that “all disputes relative to
interpretation of the provisions of this Agreement or any othcr dispute arising among the parties”
shall be resolved by final and binding arbitration, The Operating Agreement also provides, |
however, that “[t]he parties will be irreparably damaged in the event that this Agreement is not
specifically enforced. Therefore, il’ any party so required under this Agreement fails to enter into
any agreement or take any other action required by this Agreement, then, in any such event, the
other party may institute and maintain a proceeding to compel the specific performance of this
Agreement. Such remedy, however, shall be cumulative and not exclusive, and shall be in
addition to any other remedy at law or in equity that the partics may have.” Operating
Agreement, § 17.15.

26. In connection with reporting to the Board of Governors of CDI its

recommendation that Dr. Serra be removed as Medical Director and Approved Radiologist, and

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in connection with escorting Dr. Setra from the premises and changing the locks on the facilities,
CDI proposed certain resolutions to the Board of Governors of CDI-Northwest. These
resolutions recite that after having put Dr. Serra on warning, the most recent report of CDI
demonstrates that Dr. Serra’s actions “(a) violate the terms of Dr. Serra’s Agreement with the
Company; (b) have a significant negative impact on the financial performance of the Company;
(c) are in direct violation of his fiduciary duties to the Company; (d) create a possible negative
and hostile work environment for employees at the Center; and (e) put the Company at
significant risk of violation of state and federal laws relating to the treatment of employees.”
Based on these findings, the resolutions conclude that “it is in the best interest of the Company to
terminate the services of Dr. Scrra as an Approved Radiologist of the Company.” A true and
correct copy of the proposed resolutions and the memoranda on which they are purportedly
based are attached hereto as Exhibit G,

27. ‘The proposed resolutions removing Dr. Serra as an approved radiologist purport
to be effective on 9:00 p.m. on the evening of Sunday, May 1, 2005. On information and belief,
these resolutions were adopted by the CDI designees on the CDI-Northwest Board of Governors
on or before May 1, 2005.

28. Section 9.3 of the Operating Agreement of CDI-Northwest clearly defines the
circumstances under which an Approved Radiologist may be removed from his position as such.
The resolutions purporting to remove Dr. Serra appear to be based upon the former provisions of
§ 9.3 of the Operating Agreement, which formerly provided that “RADIOLOGISTS [previously
defined to be Dr. Serra and his affiliated practitioners] shall immediately remove any Approved
Radiologist from providing service to the Center upon the occurrence of any one ot more of the
following events ... 9.3.6. If the Board believes in good faith that the Approved Radiologist is
not properly fulfilling his or her duties pursuant to this Agreement or that the Approved

Radiologist’s continued service to the Center is not in the best interests of the Center.” This

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provision is no longer a part of the Operating Agreement, by virtue of the Second Amendment to
the Operating Agreement.

29. Section 9.3 was subscquently amended and modificd in its entirety by the parties
on or about September 26, 2003 to state as follows: “The Board may terminate, or direct the
termination of, the services of an Approved Radiologist in the event that the Board determines,
in its reasonable judgment, and after notice to Dr. Serra and to the Approved Radiologist with
reasonable opportunity (o respond to thal notice and to remedy the notified behavior, that the
service of the Approved Radialogist do not meet the standards for the performance af
professional duties by a radiologist in the geographic area of the LLC's Centers, in the type of
Center operated by the LLC, acearding to industry standards for that area at the time.” (Ex. C,
emphasis added.)

30, The Board of Governor’s Resolutions purporting to remove Dr. Serra as an
Approved Radiologist fail ta meet any of the relevant criteria under the current § 9.3 of the
Operating Agreement for removal of Dr. Serra. There is no reference in any of those resolutions
1o the “standards for the performance of professional duties by a radiologist in the geagraphic
area of the LLC’s Centers, in the type of Center operated by the LLC, according to industry
standards for that area al the time.” Instead, the sole basis for removal is the Board’s conclusion
that removal would be in the best interests of CD1-Northwest based upon Dr. Serra’s alleged
treatment of employees and other administrative matters that may impact on the financial
performance of CDI-Northwest. No aspect of the resolutions removing Dr. Serra address the
professional, medical activities or treatment of patients by Dr. Serra. Nor could there be any
findings that Dr. Serra failed to meet the professional standards for radiologists employed at
Centers like CDI-Northwest in the Seattle area, as Dr. Serra has at all times performed at or
above such standards.

31. CBI's purported removal of Dr. Serra, as an Approved Radiologist and as

Medical Director, breach the provisions of § 9.3, as amended. On information and belief, the

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articulated basis of Dr, Serra’s removal is a pretext for the true purpose, to prevent Dr, Serra
from finther investigating and challenging CDI’s improper billing practices.

32. Dr. Serra will be irreparably harmed if he is removed as an Approved Radiologist
of CDI-Northwest. Dr. Serra has no alternative facilities to perform medical services. Dr. Serra
has spent at least the last four years building his practice, including his relationships with patients
and with referring physicians. If Dr, Serra is forced out of practice by his ejection from CDI-
Northwest, Dr. Serra will be unable to maintain and sustain his relationships with his patients
and his referral base. This loss of continuity will result in a loss of goodwill and damages that
are not capable of being ascertaincd with reasonable certainty. They will also result in an
intangible loss to Dr. Serra in the practice of his profession and the personal satisfaction thal
such a practice provides.

WHERFFORE, plaintiff Dr. Serra respectfully prays for the following relief:

A. For a temporary restraining order and preliminary and permanent injunction
enjoining CDI and Governors appointed by CDI to the Board of Governors of CDI-Northwest, to
refrain from the enforcement of the resolutions adopted on May 1 purporting to remove Dr. Serra
as an Approved Radiologist and Medical Director of CD]-Northwest and that Dr. Serra be
reinstated immediately as an Approved Radiologist and Medical Director of CDI-Northwest until
the arbitration now pending between the parties is resolved;

B, For an order that CDI be compelled to arbitrate its claims, if any, that it is entitled
to remove Dr, Serra as an Approved Radiologist and Medical Director;

C. For Dr. Setra’s costs of suit incurred herein; and

D. For such other and further relief that the Court dcems just and proper.

DATED: May 3, 2005.

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VERIFICATION

I, Dr. Alexander Serra, being first duly sworn, depose and state as follows:

I, I have personal knowledge of the facts stated herein. If sworn as a witness, I
would competently testify thereto,

2. I have reviewed the complaint prepared on my behalf against the Center for
Diagnostic Imaging, ef al, for specific performance. The facts stated therein are true of my own
personal knowledge except as to those allcgations stated on information and belief, and ag to
those matters, I believe them to be truc.

[declare under penalty of perjury, under the laws of the United States, that the foregoing

is true and correct.

DATE: _? / 3/0 >
19Q, Hr.

Dr. Alexander Serra

1845.10 HO22 HSC DR:

 
